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                       SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (hereinafter “Agreement”) is entered into by and
between Plaintiffs, Ashlee Suttle and Chelsea Turner, on behalf of themselves, their heirs,
executors, agents, representatives, administrators, survivors, assigns and anyone claiming through
them (hereinafter referred to as “EMPLOYEES”) and Defendant, La Salsa Mex, Inc. and all of
their subsidiaries and affiliates, successors and assigns, and its current and former partners,
officers, agents, members, directors, attorneys, heirs, survivors, assigns, and executors (all herein
collectively referred to as “EMPLOYER”). All of the foregoing individuals and entities are
hereinafter sometimes also collectively referred to as the “Parties.”

        WHEREAS, EMPLOYEES were formerly employed by the EMPLOYER as restaurant
servers from approximately June 2018 through July/August 2019;

        WHEREAS, EMPLOYEES alleged that EMPLOYER did not pay them minimum wage
for all hours worked in violation of the Fair Labor Standards Act (“FLSA”) 29 U.S.C. § 201, et
seq.; for which claims EMPLOYEES sought compensation and relief in through a Complaint
styled Ashlee Suttle and Chelsea Turner v. La Salsa Mex, Inc., pending in the United States District
Court for the Northern District of Georgia Newnan Division, Case No. 3:20-cv-00158-TCB (the
“Lawsuit”); and

        WHEREAS, although EMPLOYER has denied and continues to deny that it violated
EMPLOYEES’ rights under the FLSA or any other federal, state or local law, or state common
law principles, the Parties desire to finally and forever resolve, compromise, and settle any and all
claims which EMPLOYEES asserted or could have asserted in the Lawsuit and which arise out
of or in any way related to their work for or employment by EMPLOYER as alleged in the
Lawsuit.

       NOW THEREFORE, in consideration of the foregoing RECITALS which are
incorporated herein, together with these premises, covenants, promises, and terms and conditions
contained herein, the Parties agree as follows:

       1.     As consideration for the release of all claims, EMPLOYER will pay
EMPLOYEES the total sum of Fourteen Thousand Dollars ($14,000.00) in compromise and
settlement of any and all claims that they asserted or could have asserted in the Lawsuit.
EMPLOYEES shall be paid the aforesaid sum in five separate checks, each as follows:

       A.      For PLAINTIFF ASHLEE SUTTLE:

               i)      A check in the amount of ONE THOUSAND EIGHT HUNDRED Dollars
                       ($1,800.00), less all applicable withholdings and deductions, payable to
                       ASHLEE SUTTLE for her alleged lost wages, for which a W-2 will be
                       issued for the alleged back-wage damages;




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              ii)     A check in the amount of ONE THOUSAND EIGHT HUNDRED Dollars
                      ($1,800.00) payable to ASHLEE SUTTLE for the alleged liquidated
                      damages, pursuant to Form 1099;

       B.     For PLAINTIFF CHLESEA TURNER:

              iii)    A check in the amount of ONE THOUSAND SEVEN HUNDRED Dollars
                      ($1,700.00), less all applicable withholdings and deductions, payable to
                      CHELSEA TURNER for her alleged lost wages, for which a W-2 will be
                      issued for the alleged back-wage damages;

              iv)     A check in the amount of ONE THOUSAND SEVEN HUNDRED Dollars
                      ($1,700.00) payable to CHELSEA TURNER for the alleged liquidated
                      damages, pursuant to Form 1099;

       C.     ATTORNEYS’ FEES AND EXPENSES:

              v)      A check in the amount of SEVEN THOUSAND Dollars ($7,000.00)
                      payable to HALL AND LAMPROS, LLP for the alleged attorneys’ fees and
                      expenses incurred by Plaintiffs, pursuant to Form 1099;

       D.     APPROVAL AND PAYMENT:

              1.      EMPLOYEES, through their counsel, shall submit this Agreement to the
                      United States District Court for the Northern District of Georgia Newnan
                      Division within three (3) days of execution for approval by the Court.
                      EMPLOYEES, through their counsel, shall prepare and submit all
                      necessary documents (including filing a Dismissal with Prejudice) to ensure
                      settlement approval and dismissal with prejudice of the Lawsuit by the
                      Court. The settlement approval documents must be approved by counsel for
                      EMPLOYER prior to filing with the Court; and

              2.      EMPLOYER will send all payments provided for under this Paragraph 1
                      to HALL & LAMPROS, LLP within ten (10) calendar days following
                      EMPLOYEES’ execution of this Agreement and approval of this
                      settlement by the Court.

        2.      Although the payments to EMPLOYEES in Paragraph 1 above for liquidated
damages, attorneys’ fees, and legal expenses, are non-wage income arising out of the settlement
of their claims, EMPLOYEES understand and agree, to pay any amount that may be determined
to be due and owing as taxes, interest and penalties arising out of the payments by the
EMPLOYER, pursuant to Paragraph 1, should it be determined that all or part of such payments
constitute gross income within the meaning of the Internal Revenue Code of 1986, as amended, or
under any other federal, state, or local statute or ordinance. EMPLOYEES further agree to hold
the EMPLOYER harmless against, and to indemnify the EMPLOYER for, any and all claims by
the Internal Revenue Service, any other taxing authority or taxing agency (whether federal, state

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or local) which may be made against the EMPLOYER arising out of or relating to the
EMPLOYER’s failure to withhold any portion of such payment for income or social security
purposes, or for any other purpose, and agrees to reimburse the EMPLOYER for any resulting
payments, including with limitations, all penalties and interest to the Internal Revenue Service,
any other taxing authority or governmental agency, that the EMPLOYER must make in response
to each such claim. The parties further agree that: (i) the EMPLOYER will give EMPLOYEES
notice of any such claim; and (ii) EMPLOYEES will cooperate with the EMPLOYER in the
defense of any such claim.

        3.     Release and Waiver of Rights and Claims by EMPLOYEES. In exchange and
consideration of the payments and promises contained in this Agreement, EMPLOYEES agree
as follows:

       (a)    Release of All Wage Claims. In exchange for the promises contained in this
              Agreement and to the extent permitted by law, EMPLOYEES do hereby
              knowingly, voluntarily, and unconditionally release, acquit, and forever discharge,
              and agree that EMPLOYEES will not in any manner institute, prosecute or pursue,
              any and all FLSA wage and overtime complaints, claims, lawsuits, claims for relief,
              demands, suits, arbitrations, actions or causes of action, whether in law or in equity,
              which EMPLOYEES assert or could assert, against the EMPLOYER and/or
              Released Parties, including any of its current or former owners, officials, directors,
              officers, shareholders, affiliates, agents, employee benefit plans, plan
              administrators, representatives, servants, employees, former employees, attorneys,
              subsidiaries, parents, divisions, branches, units, successors, predecessors, and
              assigns with respect to: (i) any and all FLSA claims asserted at any time in the
              LITIGATION; or (ii) any and all FLSA claims for unpaid wages, minimum wages,
              overtime, miscalculated wages, improper deductions, late payment of wages,
              retaliation for complaining about wages or for asserting wage related claims, or
              recordkeeping-related claims, and any and all statutory claims under federal, state,
              or local law and/or regulations regulating hours of work, wages (including
              minimum wages and overtime wages), the timing and/or payment of wages,
              retaliation, or recordkeeping (collectively the “FLSA Claims”).

       (b)    Release of All Claims. In consideration of the payments called for herein, each of
              the Releasing Parties, on behalf of themselves, their heirs, executors,
              administrators, and assigns, hereby now and forever, fully and finally, completely
              releases and forever discharges the Released Parties of and from any and all past,
              present, or future non-FLSA claims, actions, causes of action, rights, damages,
              costs, or suits of any kind or nature whatsoever, whether based on a tort, contract,
              federal or state statute or other theory of recovery, which the Releasing Parties
              now have or may have in the future arising from any and all Non-FLSA Claims
              (not proffered in Civil Action File No. 3:20-cv-00158-TCB) that could have been
              raised prior to the Effective Date of this Agreement, including but not limited to
              the following: any and all non-FLSA claims for declaratory and injunctive relief,
              permanent injunction, back pay, including wages, employment benefits or other
              compensation, front pay, incentive pay, lost benefits of any kind, medical insurance

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      or benefits, life insurance, vacation pay, disability insurance, sick pay, severance
      pay or other equitable relief, compensatory damages, liquidated damages,
      emotional distress, punitive damages, statutory penalties, alleged personal injuries
      or damages, attorney’s fees and costs, litigation expenses and any additional fees
      and expenses, and any and all non-FLSA claims that were or could have been
      brought, including that lawsuit referenced above entitled Ashlee Suttle and Chelsea
      Turner v. La Salsa Mex, United States District Court for the Northern District of
      Georgia; Civil Action No.: 3:20-cv-00158-TCB, or any other civil or administrative
      action that has been or could have been brought in connection with the
      aforementioned Non-FLSA Claims prior to the Effective date of this Agreement.
      This release and discharge does not apply to claims that may arise after the
      Effective date of this Agreement or that may arise from a breach of this Agreement.

(c)   Release of Existing but Currently Unknown Claims. Notwithstanding any local or
      other law to the contrary, EMPLOYEES expressly agree that this Paragraph 3 will
      extend and apply to all Claims EMPLOYEES may have against the EMPLOYER
      or any Released Parties at the time EMPLOYEES sign the Agreement, regardless
      of whether EMPLOYEES are aware of or suspect such Claims at the time
      EMPLOYEES sign.

(d)   Claims Not Included. EMPLOYEES agree that the above paragraphs shall release
      the EMPLOYER and Released Parties from liability for the Claims to the fullest
      extent permitted by law and only to the extent permitted by law. EMPLOYEES
      acknowledge that the FLSA Release does not prohibit the following rights or
      claims: (1) claims that first arise after the date EMPLOYEES sign this Agreement
      or which arise out of or in connection with the interpretation or enforcement of the
      Agreement itself; (2) any other legal or equitable rights or claims that were or which
      could have been raised in the Lawsuit and which are being resolved through a
      separate Mutual Release and Settlement Agreement; or (3) claims which cannot be
      waived as a matter of law pursuant to federal, state or local statute (i.e. this
      Agreement does not prohibit EMPLOYEES from filing other state or federal
      administrative charges or claims - e.g., NLRB or other such agencies - or from
      participating in such matters; but, notwithstanding the foregoing, EMPLOYEES
      agree to waive their rights to recover individual relief in any charge, complaint, or
      lawsuit filed by them or anyone on their behalf against EMPLOYER).
      EMPLOYEES agree that should any person or entity file or cause to be filed any
      civil action, suit, arbitration, or legal proceeding seeking equitable or monetary
      relief in connection with any aspect of EMPLOYEES’ Claims prior to the
      Effective Date of this Agreement, EMPLOYEES will not seek or accept any
      personal relief, including but not limited to an award of monetary damages or
      reinstatement to employment, in connection therewith.

(e)   Acknowledgment. The parties agree that each provision in this Paragraph 3 is a
      material provision of this Agreement.




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        4.      Attorneys’ Fees and Costs. As further mutual consideration of the promises set
forth herein, the EMPLOYER and EMPLOYEES agree that they each are responsible for their
own attorneys’ fees and costs (other than the attorneys’ fees and costs outlined in Paragraph 1(C)
above), and each agree not to seek from the other or others released hereby, reimbursement for
attorneys’ fees and/or costs relating to any matters addressed in this Agreement, except as may be
otherwise set forth herein.

         5.      No Admission of Liability.         EMPLOYEES specifically understand and
acknowledge that by entering into this Agreement, the EMPLOYER and all other Released
Parties do not admit any liability whatsoever to EMPLOYEES or to any other person arising out
of any Claims heretofore or hereafter asserted by EMPLOYEES, and that the EMPLOYER, for
itself and all other Released Parties, expressly denies any and all such wrongdoing or liability.

        6.      Remedy for Breach. The Parties acknowledge and understand that if either party
breaches any provision of this Agreement, the other party shall have, in addition to and without
limiting any other remedy or right it may have at law or in equity, the right to a temporary and
permanent injunction restraining any such further breach, without any bond or security being
required. In any such proceeding, the party in breach waives any defense that the non-breaching
party has an adequate remedy at law or that the injury suffered as a consequence of such breach is
not irreparable. In any such proceeding, the prevailing party shall recover its reasonable attorneys'
fees and costs.

       7.      Assignments. EMPLOYEES represent and warrant that EMPLOYEES have not
assigned or transferred to any person or entity any of EMPLOYEES’ rights which are or could
be covered by this Agreement, including, but not limited to, any covenant not to sue and the
waivers and releases contained in this Agreement.

        8.     Joint Motion and Consent Order. Because the Complaint includes FLSA Claims,
a Joint Motion and Order are being presented to Judge Timothy C. Batten, Sr. for approval of the
settlement. This Agreement shall only become final, binding and enforceable upon the issuance
of an order by Judge Batten or other authorized judge of the United States District Court for the
Northern District of Georgia. All Parties consent to the submission of the Joint Motion and
Consent Order to Judge Batten and to the terms of this Settlement Agreement.

      9.      Paragraph Headings. Paragraph headings in this Agreement are included for
convenience of reference only and shall not be a part of this Agreement for any other purpose.

       10.     Entire Agreement. The Parties understand, covenant, and agree that this
Agreement contains the entire understanding and agreement relating to the FLSA Claims and
matters stated herein, as well as any and all issues regarding EMPLOYEES’ work for or
employment by EMPLOYER, and that there are no other agreements, covenants, promises, or
arrangements between EMPLOYEES relating to the issues covered by this Agreement, that the
terms and conditions of this Agreement cancel and supersede any prior agreements, promises,
representations or understandings that may have existed between EMPLOYEES and
EMPLOYER with respect to all issues covered by this Agreement, that no other promise or
inducement has been offered to either party except as set forth herein, and that this Agreement is


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binding upon all parties, and their respective heirs, executors, administrators, successors and
assigns.

         11.    No Oral Modification. This Agreement may not be modified or amended in any
manner (i.e. orally) without a written agreement signed and dated by all Parties and their counsel.
The EMPLOYER’S failure to enforce any provisions of this Agreement will not constitute waiver
of its rights under this Agreement.

        12.     Severability. The invalidity or unenforceability of any provision of this Agreement
shall not affect the validity or enforceability of any other provision. The recitals are incorporated
into this Agreement. Neither this Agreement nor any other agreement between the Parties, nor
any uncertainty or ambiguity herein or therein, shall be construed or resolved using any
presumption against any party hereto or thereto, whether under any rule of construction or
otherwise. On the contrary, this Agreement has been reviewed by the Parties and, in the case of
any ambiguity or uncertainty, shall be construed according to the ordinary meaning of the words
used so as to fairly accomplish the purpose and intentions of all Parties hereto. Should any of the
material provisions of this Agreement be rendered invalid by a court or government agency of
competent jurisdiction, the remainder of this Agreement shall, to the fullest extent permitted by
applicable law remain in full force and effect.

       13.     Choice of Law. The Parties further agree that, to the extent not governed by federal
law or otherwise prohibited by state law, this Agreement will be governed by, and interpreted in
accordance with, the laws of the State of Georgia, notwithstanding its rules governing choice of
law. To the extent that a federal court or agency does not have jurisdiction over any action
involving the validity, interpretation or enforcement of the Agreement, or any of its terms,
provisions or obligations, the parties agree that jurisdiction and venue shall exist exclusively in a
court or government agency located in the State of Georgia, unless specifically prohibited by
applicable law.

        14.     Counterparts. This Settlement Agreement and Release may be executed in any
number of counterparts and by the different Parties hereto on separate counterparts with each said
counterparts being an original, but all counterparts together shall constitute one and the same
instrument. Electronic signatures and signatures obtained by fax, pdf, or scanned and emailed shall
constitute an original signature, but one counterpart set delivered to the United States District Court
shall be marked the “Original,” and all other counterparts shall be marked “Duplicate”.

        15.     Joint Participation in Negotiation and Preparation of Agreement, and
Understanding and Use of Agreement. The Parties hereto participated jointly in the negotiation
and preparation of this Agreement, and each party has had the opportunity to obtain the advice of
legal counsel and to review, comment upon, and redraft this Agreement. Accordingly, it is agreed
that no rule of construction shall apply against any party or in favor of any party. This Agreement
shall be construed as if the parties jointly prepared this Agreement, and any uncertainty or
ambiguity shall not be interpreted against any one party and in favor of the other. By executing
this Agreement, each Party acknowledges having carefully read, and acknowledges knowing and
understanding, the terms and effect hereof. Each Party further represents, declares and agrees that
she or it voluntarily enters into this Agreement for the purposes of making a full and final
compromise, adjustment and settlement of all claims hereinabove described. Each Party signs this

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Agreement of her or its own free will, after consultation with counsel about same. The Parties to
this Agreement represent that this Agreement may be used as evidence in any subsequent
proceeding in which any of the Parties allege a breach of this Agreement or seek to enforce its
terms, provisions or obligations.

        IN WITNESS WHEREOF, the parties have executed this Agreement to be effective as
of the date of the final signature.

 EMPLOYEE:                                         EMPLOYER:

 ______________________                            ______________________
 Ashlee Suttle                                     La Salsa Mex, Inc.
         
 Date: ___________                                 By:_______________________________

                                                   Date: ___________



 EMPLOYEE:

 ______________________
 Chelsea Turner

 Date: ___________




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proceeding in which any of the Parties allege a breach of this Agreement or seek to enforce its
terms, provisions or obligations.

        IN WITNESS WHEREOF, the parties have executed this Agreement to be effective as
of the date of the final signature.

 EMPLOYEE:                                         EMPLOYER:

 ______________________                            ______________________
 Ashlee Suttle                                     La Salsa Mex, Inc.

 Date: ___________                                 By:_______________________________

                                                   Date: ___________



 EMPLOYEE:

 ______________________
 Chelsea Turner
         
 Date: ___________




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terms, provisions or obligations.

        IN WITNESS WHEREOF, the parties have executed this Agreement to be effective as
of the date of the final signature.

 EMPLOYEE:                                         EMPLOYER:

 ______________________                            ______________________
 Ashlee Suttle                                     La Salsa Mex, Inc.

 Date: ___________                                 By:_______________________________

                                                   Date: ___________



 EMPLOYEE:

 ______________________
 Chelsea Turner

 Date: ___________




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